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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 PHILIP A. FERRARI
   MICHELE BECKWITH
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. Cr. 2:10-cr-305 LKK
12                                 Plaintiff,                REVISED STIPULATION
                                                             REGARDING EXCLUDABLE TIME
13   v.                                                      PERIODS UNDER SPEEDY TRIAL
                                                             ACT; FINDINGS AND ORDER
14   MIKE POURSARTIP, et. al.,
15                                 Defendant,
16

17                                              STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants, by
19
     and through their counsel of record, hereby stipulate as follows:
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            1.       By previous order, this matter was set for status on November 27, 2012.
21
            2.       By this stipulation, the parties ask that the status conference be continued to January
22

23 8, 2013 and to exclude time between November 27, 2012 and January 8, 2013 under Local Code T4

24 and T2.

25          3.       The parties agree and stipulate, and request that the Court find the following:
26          a.       The government has represented that the discovery associated with this case includes
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     investigative reports and related documents in electronic form, voluminous records related to a state
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                                                         1
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     agency’s purchase of equipment and services during a multi-year timespan, and multiple boxes of
 1
     related agency records. All of this discovery in the Government’s possession has been either
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 3 produced directly to counsel and/or made available for inspection and copying. The Court has

 4 previously found this case to be complex within the meaning of Local Code T2.

 5          b.       Counsel for defendants have made additional discovery requests and counsel for the
 6
     Government needs additional time to respond to those requests. Additionally, defendant Shirazi had
 7
     brain surgery in late August and she is still recovering. Due to her condition, additional time is
 8
     needed to allow her to meaningfully consult with counsel and assist in preparation for trial.
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10          c.       For these reasons, denial of a continuance would deny the parties the reasonable time

11 necessary for effective preparation, taking into account the exercise of due diligence.

12          d.       Based on the above-stated findings, the ends of justice served by continuing the case
13 as requested outweigh the interest of the public and the defendant in a trial within the original date

14
     prescribed by the Speedy Trial Act.
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            e.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
16
     seq., within which trial must commence, the time period of November 27, 2012 to January 8, 2013
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18 inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4]

19 because it results from a continuance granted by the Court at defendant’s request on the basis of the

20 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

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     public and the defendant in a speedy trial.
22
            This time period is also deemed excludable pursuant to 18 U.S.C. §.§ 3161(h)(7)(A), (B)(ii)
23
     and Local Code T2.
24
            4.       Nothing in this stipulation and order shall preclude a finding that other provisions of
25

26 the Speedy Trial Act dictate that additional time periods are excludable from the period

27 within which a trial must commence.

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                                                         2
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     IT IS SO STIPULATED.
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 2
     DATED:       11/26/2012
 3

 4                                 /s/ Michele Beckwith
                                   MICHELE BECKWITH
 5                                 Assistant United States Attorney
 6

 7 DATED:         11/26/2012
 8
                                   /s/ Richard Pachter
 9                                 RICHARD PACHTER
                                   Counsel for Mike Poursartip
10

11 DATED:         11/26/2012
12
                                   /s/ Christopher H. Wing
13                                 CHRISTOPHER H. WING
                                   Counsel for Sara Shirazi
14

15
                                          ORDER
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17        IT IS SO FOUND AND ORDERED this 27th day of November, 2012.
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